                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
               v.                               )           No. 12-00268-02-CR-W-DGK
                                                )
ANDRES JOHN PACHECO,                            )
                                                )
               Defendant.                       )

                            ACCEPTANCE OF PLEA OF GUILTY AND
                                 ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of the United States Magistrate Judge (Doc.

344), to which there has been no timely objection, the plea of guilty by Defendant Andres John

Pacheco to Counts One, Two, Eight and Nine of the Superseding Indictment filed on December 12,

2012, is now accepted and Defendant is adjudged guilty of such offenses. Sentencing will be set by

subsequent order of the Court.


                                                     /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT

Dated: July 7, 2014




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